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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA

                   Request to Use the Court’s Evidence Presentation System


 I hereby request the use of the court’s evidence presentation system and permission to bring a
 laptop computer into the courthouse to utilize with the system. I acknowledge that I have read,
 understand, and agree to follow all of the guidance available to me on the court’s website
 regarding usage of the presentation system and my computer, as well as those items specifically
 addressed below:

 x   If necessary, I will schedule an orientation to ensure that I have all equipment necessary and
     understand how the system operates. I must obtain written authorization from chambers to
     bring a laptop computer to the scheduled orientation. Orientation provides instruction on use
     of the court’s evidence presentation system and an opportunity for testing my laptop
     computer connections. Practicing presentations and preparing witnesses are not authorized
     without court approval.

 x   The court does not provide any equipment for in-court presentations such as scanned
     documents, animations, graphics, audio and video files from VHS, CD, DVD, Blu-ray, or
     external drives like a USB thumb drive. All files must be presented from my laptop
     computer.

 x   I am responsible for operating the evidence presentation system, and court employees are not
     authorized to operate my laptop computer. My staff, litigation support contractors, and I are
     not authorized to remove, relocate, or reconfigure any of the court’s evidence presentation
     system equipment.

 x   Wi-Fi or any other wireless access to data, webcams, and any recording capabilities on my
     laptop computer must be disabled while in the courthouse. Visible evidence, such as red
     tape, may be placed over the webcam to prevent video recording.

 x   Internet service is not provided by the court in the courtroom.

 I further agree, as directed by the court, to make any approved system available for, and assist
 with, inspection by court staff.

                                                                       August 17, 2018
      s/ Thomas M. Buchanan
     ___________________________________________                       ________________
                       (Signature)                                             (Date)
     Thomas M. Buchanan                                                21530
     ________________________________________________                  __________________
                 (Typed or Printed Name)                                 (VA Bar Number)
